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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    YINKA REED-NOLAN,                                   Case No. 3:17-cv-03920-JD
                                   8                   Plaintiff,
                                                                                            ORDER CONDITIONALLY
                                   9            v.                                          DISMISSING CASE
                                  10    NATIONAL COLLEGIATE STUDENT
                                        LOAN TRUST 2007-3, et al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court is advised that the parties have settled. Dkt. No. 30. Consequently, the Court

                                  14   vacates all pretrial deadlines and dismisses this case without prejudice. If any party certifies to the

                                  15   Court within 60 days from the date of this order that the agreed consideration for the settlement of

                                  16   this action has not been delivered, this order will be vacated and the case will be set for a case

                                  17   management conference. If no certification is filed, the dismissal will be deemed to be with

                                  18   prejudice after 60 days.

                                  19          The parties are directed not to ask the Court for a “dismissal with prejudice” at any

                                  20   time after this order, or to ask for an order confirming dismissal under FRCP 41(a)(1). No

                                  21   Court order is necessary for dismissal under that rule.

                                  22          IT IS SO ORDERED.

                                  23   Dated: November 27, 2017

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                                                                                                     JAMES DONATO
                                  26                                                                 United States District Judge
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